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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

GREENSILL CAPITAL INC.,                                 Case No.: 21-10561 (MEW)

                        Debtor.1


                 DECLARATION OF MATTHEW TOCKS
     PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2 AND IN SUPPORT
    OF THE DEBTOR’S CHAPTER 11 PETITION AND FIRST DAY PLEADINGS

                I, Matthew Tocks, being duly sworn, hereby depose and state as follows:

                1.      I am the Head of Restructuring (Americas) of Greensill Capital Inc.,

the debtor and debtor in possession (the “Debtor”) in the above-captioned chapter 11

case (the “Chapter 11 Case”). As described in greater detail below, the Debtor is an

indirect wholly owned subsidiary of Greensill Capital Pty Limited, an Australian

private company (“Greensill Parent” and, collectively with its affiliates and subsidiaries,

including the Debtor, the “Company”).

                2.      I have served as the Head of Workout & Restructuring (Americas)

of the Debtor from September 2020 to March 2021. Prior to that time, I served in

multiple origination, risk management, restructuring and corporate strategy roles at

Ambac Assurance Corporation for 14 years (2006 to 2020). I was also on the Board of

Directors of the Peruvian lender Financiera Edyficar for three years (2006 to 2009).

                3.      I submit this declaration (the “Declaration”) pursuant to Rule 1007-

2 of the Local Bankruptcy Rules for the Southern District of New York (the “Local

Bankruptcy Rules”): (a) in support of the Debtor’s voluntary petition for relief under



1
    The last four digits of the Debtor’s federal tax identification number are 3971. The Debtor’s corporate
    headquarters are located at 2 Gansevoort Street, New York, New York 10014.
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chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); (b) to explain

to the United States Bankruptcy Court for the Southern District of New York

(the “Court”) and other interested parties the circumstances that led the Debtor to seek

relief under chapter 11; and (c) in support of the motions and applications for relief

filed substantially concurrently herewith and discussed herein (collectively, the “First

Day Pleadings”).

              4.     Except as otherwise indicated, the facts set forth in this Declaration

are based upon my personal knowledge of the Debtor’s business operations, my review

of relevant documents, information provided to me, and/or my opinion based upon my

experience, knowledge, and information concerning the Company’s and the Debtor’s

operations and financials. Unless otherwise indicated, the financial information

contained in this Declaration is unaudited and subject to change.

              5.     I am authorized to submit this Declaration on behalf of the Debtor,

and, if called upon to testify, I could and would testify competently to the facts set forth

herein.

              6.     This Declaration is divided into four parts. Part I of this

Declaration provides an overview of the Debtor’s business and operations, including

their corporate and capital structure. Part II describes the circumstances that led to the

commencement of this Chapter 11 Case, and the Debtor’s restructuring plans. Part III

sets forth the relevant facts in support of each of the Debtor’s First Day Pleadings.

Part IV provides the information required by Local Bankruptcy Rule 1007-2.

  I.   THE DEBTOR’S BUSINESS AND OPERATIONS

       A.     The Chapter 11 Filing

              7.     On the date hereof (the “Petition Date”), the Debtor filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor

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continues to manage and operate its businesses as debtor in possession pursuant to

sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been

appointed in this case.

       B.      The Debtor’s Corporate Organization

               8.      The Debtor is a Delaware corporation formed on June 10, 2013,

having its corporate headquarters at 2 Gansevoort Street, New York, NY 10014 (the “NY

Office”). The Debtor is a direct, wholly owned subsidiary of Greensill Capital

Management (UK) Limited (“GCMC”), which is a direct wholly owned subsidiary of

Greensill Parent.2 A corporate organization chart is attached hereto as Exhibit 1.

               9.      As a Delaware corporation, the Debtor is governed by a board of

directors (the “Board”). As of the Petition Date, the Debtor’s Board consisted of two

members—Alexander (Lex) D. Greensill (“Mr. Greensill”), the Company’s Chief

Executive Officer, and Jill M. Frizzley (the “Independent Director”). The Independent

Director was appointed by resolution dated March 20, 2021 to review actions related to

the Debtor’s wind up of its operations, including in connection with this Chapter 11

Case and the Finacity Sale Transaction (as defined below).

       C.      Overview of the Debtor’s Business, Operations, and Capital Structure

               (1)     The Debtor’s Historical Operations

               10.     The Company was founded by Mr. Greensill in 2011 as a financial

services company to provide supply chain financing, working capital solutions and

related services. Until the appointment of the Administrators (as defined below), the

Company also operated a bank through a German subsidiary.



2
    GCMC performs substantially all corporate and administrative functions for the Company and
    employs substantially all of the Company’s workforce in the United Kingdom.



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              11.     The Company arranged factoring and reverse factoring programs

for clients globally. Factoring is a type of financing for suppliers where the supplier

sells its accounts receivable at a discount and the financier later collects the full value of

the invoice from the buyer. With factoring, the financier’s relationship is with the

supplier whereas with reverse factoring the relationship is with the buyer of the goods

or services. Reverse factoring or supply chain financing is a working capital solution

whereby a finance intermediary pays a buyer’s open invoices to suppliers early at a

discount and then collects payment directly from the buyer on the due date of such

invoices. The Company also packaged these payment obligations into notes which

were sold to third party investors. These working capital solutions provide much

needed cash flow relief, particularly to small businesses, by decreasing the risks of

nonpayment and uncertainty as to timing of cash flows, that would otherwise result

from having to wait for the buyers to pay on account of outstanding invoices. In 2019,

the Company provided $143 billion of financing to approximately 10 million customers

and suppliers.

              12.     Historically, the Debtor served as the base for the Company’s sales

force in the United States and the Americas and employed more than 70 employees

across 13 states as of January 1, 2021. The vast majority of the Debtor’s employees were

located at the NY Office. The Debtor’s employees sold the Company’s products and

services to clients and investors in the Americas and all revenue arising therefrom went

directly to Greensill Capital (UK) Limited (“GCUK”).




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                13.     In June 2019, the Debtor acquired Finacity Corporation and its

subsidiaries (collectively, “Finacity”).3 Finacity is a leader in the structuring and

provision of asset-backed working capital funding solutions, consumer receivables

financing, supplier and payables financing, back-up servicing, and transaction

reporting around the world. As of the date hereof, Finacity served as agent on

outstanding transactions with borrowers and obligors in more than 175 countries.

Finacity averages approximately 60 million in accounts receivable items each year.

Finacity’s clients range from large-multinational shipping companies to micro-finance

branches in Latin America. While there is some overlap in the products and services

offered by the Company and Finacity, Finacity operates as a separate business from the

Debtor or the Company.

                (2)     The Debtor’s Capital Structure

                14.     The Debtor has no revenue and no secured debt. As of the Petition

Date, the Debtor’s significant assets consist of (a) approximately $400,000 in cash on

hand, (b) its equity interests in Finacity, (c) certain furniture and office equipment

located at the NY Office that was delivered but never used due to the pandemic-related

office closing, and (d) certain valuable art pieces displayed at the NY Office.

                15.     The Debtor is party to a retention and services agreement, dated

June 10, 2013, with GCUK (the “Intercompany Services Agreement”). Pursuant to the

Intercompany Services Agreement, the Debtor agreed to use its employees to develop

referrals and other busiess opportunities in the United States in exchange for

(a) compensation set forth on a schedule to the Intercompany Services Agreement



3
    The entities comprising Finacity are not debtors in this Chapter 11 Case and have not filed voluntary
    petitions under chapter 11 of the Bankruptcy Code.



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(consisting of base monthly fees plus success and referral fees as agreed to by the

parties) and (b) reimbursement of all reasonable out of pocket expenses incurred by the

Debtor on behalf of GCUK in connection with rendering services under the agreement.

Among other things, the Intercompany Services Agreement required the Debtor (unless

determined otherwise in advance in GCUK’s sole discretion) to pay all expenses

incurred by the Debtor, including rent, salaries, telephone and telecopy charges,

secretarial services, meals and entertainment expenses and otherwise, provided that

such expenses would be paid by GCUK, as determined in its sole discretion, in

accordance with a schedule to the agreement.

                16.     In order to satisfy obligations in the ordinary course, such as

payroll and lease obligations, the Debtor borrowed from GCUK pursuant to a Call

Account Loan Agreement, dated January 1, 2019 (as may be amended, modified,

and/or supplemented from time to time, the “Intercompany Revolver”).4 The

Intercompany Revolver provided for a commitment of $40 million for an unsecured

loan facility, the proceeds of which were to be used for general corporate purposes. As

of the Petition Date, the outstanding amount owed to GCUK under the Intercompany

Services Agreement and the Intercompany Revolver was approximately $51 million (the

“Intercompany Balance”).

                17.     Prior to the Petition Date, the Debtor was also party to an

intercompany aircraft agreement, dated May 2018 (the “Intercompany Aircraft

Agreement”), with Greensill Capital (IOM) Limited (“Greensill IOM”), a direct, wholly

owned subsidiary of GCMC and an affiliate of the Debtor. Under the Intercompany



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    In addition, the Company funded the Debtor pursuant to capital contributions that totaled
    approximately $12.5 million.



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Aircraft Agreement, Greensill IOM agreed to provide transportation services at an

agreed rate that the Debtor agreed to use for a minimum number of flight hours each

year. On March 19, 2021, the Debtor terminated the Intercompany Aircraft Agreement

by providing notice to Greensill IOM. Following the Debtor’s termination of this

agreement, Greensill IOM asserted that the Debtor owes a balance of €40,511.99, which

the Debtor disputes.5

                  18.     Other than outstanding employee claims, rejection damages arising

from the NY Office lease, and the Intercompany Balance, the Debtor does not anticipate

any other material claims against the Debtor.

    II.   EVENTS LEADING TO THIS CHAPTER 11 CASE

          A.      The Company’s Financial Distress and the Administration Proceedings

                  19.     In early 2021, the Company experienced severe financial distress as

a result of a series of factors. These included a combination of (among other things):

(a) the expiry of a key insurance policy of GCUK, which resulted in the loss of

significant insurance cover for the Company’s newly originated assets; (b) the

withdrawal of substantial financial support from certain of the Company’s key

creditors; and (c) pressure on and from key investors of the Company to reduce the

Company’s exposure to the GFG Alliance group. These events together precipitated the

cessation of GCUK operations and left the Company in a position of increased financial

instability.

                  20.       By an order of the English High Court dated March 8, 2021,

Christine Laverty, Trevor O’Sullivan and William Stagg each of Grant Thornton UK



5
      Notwithstanding the Debtor being a party to this agreement, neither the Debtor nor any of its
      employees used Greensill IOM’s services thereunder.



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LLP were appointed as administrators (the “Administrators”) of both GCUK and

GCMC (the “UK Administration Proceedings”). Subsequently on March 8, 2021, the

directors of Greensill Parent resolved to appoint Matthew Byrnes, Philip Wilson and

Michael McCann, each of Grant Thornton Australia Limited, as administrators of

Greensill Parent pursuant to s.436A Corporations Act (together with the UK

Administration Proceedings, the “Administration Proceedings”).

             21.      In the weeks and months prior to the Administration Proceedings,

Greensill Parent and GCUK undertook contingency planning in relation to a potential

sale of the Company’s business and certain of its assets. On February 22, 2021, Greensill

Parent, GCUK and the Debtor received a non-binding indicative proposal from Apollo

(and certain investment funds managed by Apollo Global Management, Inc., including

Athene Holding Ltd and Athora Holding Ltd (together the “Apollo Investors”) for

certain assets of the Company, and on March 2, 2021, GCUK entered into an exclusivity

agreement with the Apollo Investors. However, these negotiations were unsuccessful

and no transaction was ultimately concluded.

             22.     Following the Administrators’ move towards liquidating the

Company, on March 17, 2021, the Debtor terminated substantially all of its employees in

the United States other than certain corporate office and field employees (the

“Remaining Employees”) necessary to (a) administer this Chapter 11 Case, pursue the

Finacity Sale Transaction, and wind up the estate, and (b) assist the Administrators with

the process of maximizing recoveries for the creditors with respect to transactions with

counterparties located in the Americas for the benefit of the Company. The Debtor and

GCUK entered into a services agreement on March 25, 2021 (the “Services Agreement”),

pursuant to which GCUK agreed to pay, subject to the terms of such agreement,

amounts to the Debtor sufficient to permit it meet its obligations to the Remaining

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Employees under their existing employment terms, including wages and benefits, while

they are employed. The Remaining Employees continue to be employees of the Debtor

and are not employees of GCUK.


       B.     The Debtor’s Purpose for this Chapter 11 Case

              23.     The Debtor intends to use this Chapter 11 Case to preserve and

maximize value for the benefit of all creditors in connection with the winding up of its

affairs. The events affecting the Company in Europe made the filing of this Chapter 11

Case unavoidable. Here, the purpose of filing the petition with this Court is to best

insulate the Debtor from the distress affecting the Company elsewhere in the world.

The Debtor has valuable assets that are worth preserving and can be sold for the benefit

of its creditors and shareholder. This Court will be best able to provide the Debtor

protection while it continues to pursue a sale of its equity interests in Finacity (the

“Finacity Sale Transaction”). In that regard, the Debtor is in the process of engaging an

investment banker (the “Investment Banker”) to assist with the Debtor’s sale efforts.

              24.     In order to fund this Chapter 11 Case, including the costs of

pursuing the Finacity Sale Transaction described above, Peter Greensill Family Trust

(the “DIP Lender”) agreed to provide the Debtor with $2 million of critical and

nececessary financing pursuant to the DIP Facility (as defined below). I believe based

on the information provided to me that the DIP Facility will allow the Debtor to meet

ordinary course expenses, accrued but unpaid payroll for the Terminated Employees

(as defined below) (subject to the Court’s approval of the Wages and Benefits Motion

(as defined below)), and the costs of administering this Chapter 11 Case through the

sale and plan processes.

              25.     The Debtor believes that with the benefit of a robust marketing


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process with the assistance of the Investment Banker and the liquidity from the DIP

Facility, the Debtor will be able to maximize the value of its key asset and make

distributions to allowed general unsecured and priority claims.

III.    FIRST DAY PLEADINGS

                26.     Substantially contemporaneously with the filing of this Declaration,

the Debtor has filed various First Day Pleadings, and, at the “first day” hearing

(the “First Day Hearing”) will seek orders granting various forms of relief. I have

reviewed each of the First Day Pleadings or have otherwise had their contents

explained to me, including the exhibits thereto, and I believe that the relief sought in

each of the First Day Pleadings is important to the Debtor’s ability to transition to, and

operate in, chapter 11 with minimum interruption or loss of value.

                27.     Because of the Debtor’s limited operations historically, the Debtor

has only filed four First Day Pleadings to be heard at the first day hearing: the Creditor

Matrix Motion (requesting entry of final order), the Wages and Benefits Motion

(requesting entry of interim order), the Section 345 Motion (requesting entry of interim

order), and the DIP Financing Motion (requesting entry of interim order). The Contract

and Lease Rejection Motion was filed as part of the First Day Pleadings but the Debtor

will request that the Court schedule a hearing on that matter at a later date.6




6
    Because the Debtor wishes to avoid incurring April rent obligations in connection with the NY Office,
    the Debtor intends to request that the Court schedule the Contract and Lease Rejection Motion by no
    later than March 31, 2021.



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       A.     Debtor’s Application for Entry of Order (I) Waiving Certain
              Creditor List Filing Requirements; and (II) Authorizing the Debtor to
              Establish Procedures for Notifying Parties of the Commencement of this
              Case (the “Creditor Matrix Motion”).

              28.     By the Creditor Matrix Motion, the Debtor is seeking entry of an

order (i) waiving the requirements applicable to creditor list filing pursuant to

section 521(a)(1) of the Bankruptcy Code, Bankruptcy Rule 1007(d), and Local

Bankruptcy Rule 1007-1 (collectively, the “List Filing Requirements”), and (ii) (A)

authorizing the Debtor to establish certain procedures (the “Procedures”) for providing

notice to parties of the commencement of this Chapter 11 Case and of the meeting of

creditors pursuant to sections 341 and 342(a) of the Bankruptcy Code and (B) approving

the form of notice of commencement (the “Notice of Commencement”).

              29.     Under the circumstances, I believe reformatting the creditor list,

preparing and formatting a creditor matrix, and otherwise complying with the List

Filing Requirements will impose unnecessary administrative burdens on, and will

distract, the Debtor without any corresponding benefit to the estate.

              30.     The Debtor believes that service of the Notice of Commencement

by regular first-class mail and email, where available, will maximize efficiency in

administering this Chapter 11 Case and will ease administrative burdens that would

otherwise fall upon the Court and the U.S. Trustee. In addition, the Debtor will

endeavor to serve the Notice of Commencement by email where possible. The

Procedures ensure that the Debtor’s creditors receive prompt notice of the

commencement of this Chapter 11 Case and of the meeting of creditors held pursuant to

section 341 of the Bankruptcy Code.




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              31.     I believe that the relief requested in the Creditor Matrix Motion is

in the best interests of the Debtor’s estate, creditors, and all other parties in interest.

Accordingly, I respectfully submit that the Creditor Matrix Motion should be approved.

       B.     Debtor’s Application for Entry of Interim and Final Orders Authorizing
              the Debtor to (I) Pay Prepetition Employee Wages, Salaries, Benefits,
              and Other Compensation; (II) Continue to Pay Postpetition Employee
              Wages, Salaries, Benefits, and Other Compensation; and (III) Granting
              Related Relief (the “Wages and Benefits Motion”).

              32.     As of March 15, 2021, the Debtor employed approximately 75

employees, located across 14 states (the “Employees”). The vast majority of the

Debtor’s employees were located at the Debtor’s corporate headquarters in New York.

The Employees were responsible for, among other things, developing referrals and

other business opportunities in the Americas for GCUK.

              33.     On March 17, 2021, the Debtor terminated substantially all of its

Employees (the “Terminated Employees”) other than the Remaining Employees who

are necessary to (a) administer this Chaper 11 Case, pursue the Finacity Sale

Transaction, and wind up the estate, and (b) assist the Administrators with the process

of maximizing recoveries for creditors with respect to transactions with counterparties

located in the Americas for the benefit of the Company. As discussed in Paragraph 22

above, the Debtor and GCUK have entered into the Services Agreement, pursuant to

which GCUK agreed to pay, subject to the terms of such agreement, amounts to the

Debtor sufficient to permit it to meet its obliagtions to the Remaining Employees under

their existing employment terms, including wages and benefits, while they remain

employed. Two of the Remaining Employees will be terminated as of April 1, 2021.

              34.     The Remaining Employees include personnel who are intimately

familiar with the Debtor’s business, processes, and systems who possess unique skills



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and experience regarding the Debtor’s business.7 Without the continued, uninterrupted

services of the Remaining Employees, the Debtor’s ability to maintain and administer

its estate will be materially impaired and the Debtor’s business could be severely and

adversely affected thereby resulting in a loss of value to the detriment of all creditors

and stakeholders.

                35.     By the Wages and Benefits Motion, the Debtor is seeking entry of

interim and final orders pursuant to sections 105(a), 363(b), 507(a), 541(b)(7) and 541(d)

of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and Local Bankruptcy Rule

9013-1(a) to pay and honor certain prepetition claims relating to, among other things,

wage obliagtions, withholding obligations, processing costs, vacation beenfits, health

care benefits, insurance and disability plans, COBRA benefits, workers’ compensation

programs, and other benefits programs (the “Compensation and Benefits Programs”),

and (b) pay all costs related to or on account of the Compensation and Benefits

Programs, including administrative costs (whether accruing pre- or post-petition) for

the Employees as applicable.

                36.     I believe that the relief requested in the Wages and Benefits Motion

is in the best interests of the Debtor’s estate, creditors, and all other parties in interest.

Accordingly, I respectfully submit that the Wages and Benefits Motion should be

approved.




7
    The Debtor may be required to pay certain de minimis registration and licensing fees in the states
    where the Remaining Employees are located (the “Registration Fees”). As of the Petition Date, the
    Debtor does not believe that any Registration Fees are outstanding, but out of an abundance of
    caution, the Debtor is seeking authority to continue to pay the Registration Fees in the ordinary
    course of business (including any that accrued and may have been owing as of the Petition Date).



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       C.     Debtor’s Application for Entry of Interim and Final Orders (I)
              Extending the Deadline for the Debtor to Comply With, or Seek Waiver
              of, Section 345(b) of the Bankruptcy Code; and (II) Granting Related
              Relief (the “Section 345 Motion”)

              37.     The Debtor currently maintains a single deposit account (the “CIBC

Account”) with Canada Imperial Bank of Commerce (“CIBC”). CIBC is not designated

as an authorized depository (and “Authorized Depository”) by the Office of the United

States Trustee for Region 2 (the “U.S. Trustee”) pursuant to the U.S. Trustee’s Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees (the

“UST Guidelines”). While the Debtor is in the process of opening a new deposit

account with an Authorized Depository in accordance with the UST Guidelines, the

process of changing banks may not be completed as of the Petition Date. Before the

process of opening a new bank account at an Authorized Depository is complete, the

Debtor must be able to pay any charges in connection with the transfer of funds, or

unpaid CIBC Fees.

              38.     Because the Debtor may incur certain service related charges in

connection with the CIBC Account (the “CIBC Fees”), or charges related to the transfer

of funds out of the CIBC Account, the Debtor is seeking to continue using all Business

Forms substantially in the forms used immediately prior to the Petition Date, without

reference to the Debtor’s status as debtor-in-possession; provided that in the event that

the Debtor generates new Business Forms during the pendency of this Chapter 11 Case

other than from their existing stock, such Business Forms will include a legend referring

the Debtor as “Debtor-In-Possession.” Moreover, to the extent practicable, the Debtor

also will laser print such legend on any Business Form electronically generated during

this Chapter 11 Case.




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              39.     By the Section 345 Motion, the Debtor is seeking entry of an interim

order (the “Proposed Interim Order”) and final order (the “Proposed Final Order”)

authorizing the Debtor to (i) extend the time to comply with section 345(b) of the

Bankruptcy Code by forty-five (45) days (or such later time as may be agreed to by the

U.S. Trustee (as defined below) or as approved by the Court) or seek a waiver thereof;

and (ii) granting related relief.

              40.     I believe that the relief requested in the Section 345 Motion is in the

best interests of the Debtor’s estate, creditors, and all other parties in interest.

Accordingly, I respectfully submit that the Section 345 Motion should be approved.

       D.     Debtor’s Application for Entry of Interim and Final Orders
              (I) Authorizing the Debtor to Obtain Post-Petition Secured
              Financing; (II) Modifying the Automatic Stay;
              (III) Scheduling a Final Hearing; and (IV) Granting Related Relief
              (the “DIP Financing Motion”)

              41.     By the DIP Financing Motion, the Debtor is seeking entry of an

interim order (the “Proposed Interim DIP Order”) and final order (the “Proposed Final

DIP Order” and, together with the Proposed Interim DIP Order, the “DIP Orders”)

(i) authorizing the Debtor to obtain postpetition debtor in possession financing

pursuant to the Senior Secured Super-Priority Debtor-In-Possession Credit Agreement,

a copy of which is attached to the Proposed Interim DIP Order as Exhibit 1 (the “DIP

Credit Agreement”), (ii) granting liens and superpriority administrative claims,

(iii) scheduling a final hearing within approximately 28 days of the Petition Date (the

“Final Hearing”) and (iv) granting related relief.

              42.     As described in greater detail above, the Debtor intends to use this

Chapter 11 Case to pursue the Finacity Sale Transaction to a successful bidder after the

conclusion of a bidding and auction process overseen by the Court (the “Sale Process”).

The Debtor requires access to the liquidity under the DIP Credit Agreement (the “DIP

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Facility”) to continue meeting ordinary course expenses and the cost of this Chapter 11

Case through the conclusion of the Sale Process.

              43.      As part of the Debtor’s preparations for this Chapter 11 Case, the

Debtor and its advisors analyzed how much postpetition financing would be required

to operate the Debtor’s business, conclude the Sale Process, and fund the administrative

costs of this Chapter 11 Case. The Debtor’s postpetition financing needs are reflected in

the budget attached as Schedule 1 to the Proposed Interim DIP Order (the “DIP

Budget”). I believe that access to financing in accordance with the DIP Budget is

essential to the preservation and maximization of its assets.

              44.      Obtaining postpetition financing is crucial to the success of this

Chapter 11 Case. I believe that the DIP Facility will allow the Debtor to meet its

liquidity needs for the duration of this Chapter 11 Case and enable it to maximize the

return to its estate from the Sale Process. In that regard, the DIP Budget reflects the

Debtor’s reasonable judgment and projections as to the cash needs of their businesses

over the next six weeks.

              45.      The Debtor discussed with the Administrators and a potential

bidder for the Finacity Equity providing third party sources of financing for this

Chapter 11 Case. Both parties declined to provide financing. Given the lack of material

assets (other than the Finacity Equity),the Debtor’s lack of revenue, and the timing of its

bankruptcy filing, the Debtor did not believe there would be much interest from other

potential sources.

              46.      Following these discussions, the Debtor sought financing from the

DIP Lender who agreed to extend the DIP Facility in an aggregate amount of $2 million,

of which $1.5 million will be available immediately upon entry of the Proposed Interim



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Order (the “Interim Amount”) and the remaining $500,000 will be available following

the Court’s entry of the Proposed Final Order.

                47.     From the period between the entry of the Proposed Interim Order

and the Final Hearing (the “Interim Period”), the proceeds of the DIP Facility will be

used to fund the Sale Process, make payments under the Court’s “first day” orders, and

fund administrative expenses in connection with the Chapter 11 Case, including

professionals’ fees.8 Subject to the entry of the Proposed Final Order, the remaining

proceeds of the DIP Facility, if necessary, will be used to (a) pay any remaining

expenses incurred or expected to be incurred in connection with the Sale Process,

(b) fund a chapter 11 plan process, and (c) pay administrative expenses in connection

with the Chapter 11 Case, including professionals’ fees.

                48.     Given the Debtor’s financial condition, I do not believe that the

Debtor would be able to obtain financing on an unsecured basis pursuant to sections

364(b) and 503(b)(1) of the Bankruptcy Code, or even on a superpriority basis under

section 364(c)(1) of the Bankruptcy Code, on terms more favorable than those of the DIP

Facility. Similarly, I believe that if the Debtor were to solicit offers for financing secured

by liens on their unencumbered assets pursuant to section 364(c)(2) of the Bankruptcy

Code, or junior liens on their encumbered assets to the extent there are any, pursuant to

section 364(c)(3) of the Bankruptcy Code, such financing would provide for terms that

are far more onerous than those of the DIP Facility, including a significantly higher

interest rate, liens on the proceeds of avoidance actions, more punitive default and




8
    The Debtor intends to use the proceeds from the Finacity Sale Transaction to repay the DIP Facility in
    full and fund remaining administrative expenses and payments to allowed general unsecured and
    priority claims under a chapter 11 plan of liquidation to be filed in the near term.



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milestone provisions, and countless other fees (i.e., commitment fees, exit fees,

monitoring fees, etc.).

              49.     Finally, the DIP Lender, as a related party to the ultimate

shareholder of the Company has a substantial interest in the success of both the Sale

Process and this Chapter 11 Case, and is therefore willing to provide the DIP Facility on

terms that are favorable to the Debtor and beneficial to all parties in interest.

              50.     These factors, the Debtor’s review of debtor in possession financing

that has been approved in other recent cases, and the Debtor’s general experience with

financing as part of its business operations, have informed the Debtor’s conclusion that

the DIP Facility is fair and reasonable and represents the best financing currently

available to the Debtor.

              51.     I believe that the relief requested in the DIP Financing Motion is in

the best interests of the Debtor’s estate, creditors, and all other parties in interest.

Accordingly, I respectfully submit that the DIP Financing Motion should be approved.

       E.     Debtor’s Omnibus Application for Entry of Order Authorizing the
              Debtor to (I) Reject Certain Executory Contracts; And (II)(A) Reject an
              Unexpired Lease of Nonresidential Real Property; And (B) Abandon
              Certain Personal Property Related Thereto
              (the “Contracts and Lease Rejection Motion”)

              52.     By the Contracts and Lease Rejection Motion, the Debtor is seeking

entry of an order authorizing, but not directing, the Debtor to (i) reject certain executory

contacts (each a “Contract,” and collectively, the “Contracts”) pursuant to section 363 of

the Bankruptcy Code, effective upon the dates listed on Exhibit 1 (as applicable, the

“Rejection Dates”) to the form attached to the Contracts and Lease Rejection Motion as

Exhibit A (the “Proposed Order”), and (ii)(A) reject the indenture lease agreement,

entered into as of July 20, 2016, for the Debtor’s corporate headquarters located at 2

Gansevoort Street, New York, New York 10014 (as may be amended, modified, and/or

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supplemented from time to time, the “Lease”), effective as of the earlier of (1) March 31,

2021 or (2) the date upon which the Debtor surrenders the premises relating to the

Lease (the “Premises”) to Sage Realty Corporation (the “Landlord”) (such date, the

“Lease Rejection Date”); and (B) abandon, as of the Lease Rejection Date, any personal

property of the Debtor, including, but not limited to, furniture, fixtures, and equipment

(collectively, the “Personal Property”) that remains, as of the Lease Rejection Date, on

the Premises, as applicable.

                53.     The Debtor has made efforts to preserve and maximize value for its

creditors and other stakeholders, and the Debtor has targeted potential areas of cost

savings and focused on terminating burdensome and costly contractual arrangements

that are no longer necessary given the reduced scope of the Debtor’s operations.

Specifically, the Debtor has terminated substantially all of its employees that operated

the Premises.

                54.     Moreover, the Debtor intends to remove, prior to the Lease

Rejection Date, all Personal Property of the Debtor from the Premises, including

equipment, fixtures, furniture, and other Personal Property of value that may be located

on, or have been installed on the Premises. If there is anything left on the Premises, the

Debtor intends to abandon it. Because the Debtor no longer operates its business on the

Premises, and the Debtor is either removing all Personal Property from the Premises or

abandoning it, I believe that rejecting the Lease is in the best interests of the estate,

rather than the Debtor continuing to pay rent for office space that the Debtor no longer

needs while it winds up its operations.

                55.     As an extension of the Debtor’s effort to terminate burdensome and

costly contractual arrangements discussed above, the Debtor and its advisors have also

reviewed and analyzed the Contracts, which relate to the provision of services in

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connection with the Debtor’s use of the Premises that will be rejected by the Debtor

pursuant to the Proposed Order. Because the Debtor intends to wind up its operations

during this Chapter 11 Case and seeks to reject the Lease, the Debtor no longer requires

the services provided by counterparties to the Contracts. For example, the Debtor does

not require internet, phone, paper storage or shredding services at the Premises.

Moreover, the Debtor has no need for any shared office space facilities as the Debtor has

terminated substantially all of its employees, including all employees that would

otherwise need access to such space.

              56.     I believe that the Debtor is exercising sound business judgment by

rejecting the Contracts as doing so will benefit the Debtor’s estate by enabling the

Debtor to avoid the obligations related to the Contracts that would unnecessarily

deplete the Debtor’s estate.

              57.     I believe that the relief requested in the Contracts and Lease

Rejection Motion is in the best interests of the Debtor’s estate, creditors, and all other

parties in interest. Accordingly, I respectfully submit that the Contracts and Lease

Rejection Motion should be approved.

IV.    ADDITIONAL DISCLOSURES REQUIRED
       UNDER LOCAL BANKRUPTCY RULE 1007-2

              58.     Local Bankruptcy Rule 1007-2 requires that the Debtor provide

certain information, which is set forth below:

              •       Local Bankruptcy Rule 1007-2(a)(2): not applicable to this Chapter
                      11 Case because such case was not originally commenced as a
                      chapter 7, chapter 12, or chapter 13 case;

              •       Local Bankruptcy Rule 1007-2(a)(3): Exhibit 2 lists the names and
                      addresses of the members of, and attorneys for, any committee
                      organized prior to the Petition Date and a brief description of the
                      circumstances surrounding the formation of the committee and the
                      date of its formation;


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                •       Local Bankruptcy Rule 1007-2(a)(4): Exhibit 3 lists the following
                        information with respect to each of the holders of the Debtor’s
                        twenty (20) largest unsecured claims, excluding claims of insiders:
                        the creditor's name, address (including the number, street,
                        apartment or suite number, and zip code, if not included in the post
                        office address), telephone number, the name(s) of person(s) familiar
                        with the Debtor’s accounts, the amount of the claim, and an
                        indication of whether the claim is contingent, unliquidated,
                        disputed, or partially secured;9

                •       Local Bankruptcy Rule 1007-2(a)(5): Exhibit 4 lists the holders of
                        the five largest secured claims against each Debtor;

                •       Local Bankruptcy Rule 1007-2(a)(6): Exhibit 5 provides a summary
                        of the unaudited assets and liabilities for the Debtor;

                •       Local Bankruptcy Rule 1007-2(a)(7): Exhibit 6 provides the
                        following information: the number and classes of shares of stock,
                        debentures, and other securities of the Debtor that are publicly held
                        and the number of record holders thereof; and the number and
                        classes of shares of stock, debentures, and other securities of the
                        Debtor that are held by the Debtor’s directors and officers, and the
                        amounts so held;

                •       Local Bankruptcy Rule 1007-2(a)(8): Exhibit 7 provides a list of all
                        of the Debtor’s property in the possession or custody of any
                        custodian, public officer, mortgagee, pledgee, assignee of rents,
                        secured creditor, or agent for any such entity, giving the name,
                        address, and telephone number of each such entity and the location
                        of the court in which any proceeding relating thereto is pending;

                •       Local Bankruptcy Rule 1007-2(a)(9): Exhibit 8 provides a list of the
                        premises owned, leased, or held under other arrangement from
                        which the Debtor operates its business;

                •       Local Bankruptcy Rule 1007-2(a)(10): Exhibit 9 provides the
                        location of the Debtor’s substantial assets, and the location of its
                        books and records;

                •       Local Bankruptcy Rule 1007-2(a)(11): Exhibit 10 provides a list of
                        actions against the Debtor;

                •       Local Bankruptcy Rule 1007-2(a)(12): Exhibit 11 provides a list of
                        the names of the individuals who comprise the Debtor’s existing


9
    In each case, the claim amounts are estimated and subject to verification. The Debtor reserves all
    rights, including to assert remedies, defenses, counterclaims, and offsets with respect to each claim.

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                     senior management, their tenure with the Debtor, and a brief
                     summary of their relevant responsibilities and experience;

             •       Local Bankruptcy Rule 1007-2(b)(1)–(2): Exhibit 12 provides the
                     estimated amount to be paid to the Debtor’s employees (not
                     including officers, directors, and stockholders), and the estimated
                     amount to be paid to the Debtor’s officers, stockholders, directors,
                     and financial and business consultants retained by the Debtor for
                     the thirty (30) day period following the Petition Date; and

             •       Local Bankruptcy Rule 1007-2(b)(3): Exhibit 13 sets forth, for the
                     thirty (30) day period following the Petition Date, estimated cash
                     receipts and disbursements, net cash gain or loss, obligations and
                     receivables expected to accrue but remaining unpaid, other than
                     professional fees, and other information relevant to the foregoing.

             59.     Copies of the resolutions authorizing the filing of the Debtor’s

chapter 11 petition is annexed thereto.

             [Remainder of page left blank intentionally; signature page follows]




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             I swear under penalty of perjury that the foregoing is true and correct to

the best of my knowledge, information, and belief.

Dated:    New York, New York
          March 25, 2021



                                        By: /s/ Matthew Tocks
                                        Name: Matthew Tocks
                                        Title: Head of Restructuirng (Americas)
                                                Greensill Capital Inc.




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                                  Exhibit 1

                             Organizational Chart
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                                                                                                          Greensill Capital
                                                                                                            Pty Limited
                                                                                                                   [AUSTRALIA]




                    100 %                       100 %                                  100 %                           100 %                              100 %                            100 %                              100 %                         100 %
                                                                            Laufer Limited
                                       Greensill Capital                                                                                                                          Greensill Capital                     Greensill Capital
     Omni Technologies                                                          [UK]                         Greensill Bank AG                Greensill Capital
                                     Management Company                                                                                                                         Management Company                         Securities                 EARND Pty
          Limited                        (UK) Limited                                                                                         (UK) Limited                          Pty Limited                          (Australia) Pty               Limited
                                                                                                                [GERMANY]
                                                                        Greensill Global                                                                                                                                    Limited
      [Cayman Islands]                                                                                                                             [UK]
                                       [UK & South Africa]                                                                                                                          [AUSTRALIA]                           [AUSTRALIA]                [AUSTRALIA]
                                                                        Trading Limited
                                                                             [UK]              100 %

100 %                100 %                      100 %                      100 %                    100 %                        100 %                                   100 %                              100 %                           100 %             100 %
Greensill Capital        Greensill Capital          Greensill Capital        Greensill Capital II          Greensill                                          Greensill (Netherlands)     Greensill Capital (South Africa)          Greensill
                                                     (IOM) Limited                                     Asia Pte. Limited          Earnd (UK) Limited                                                                                                Greensill Limited
      Inc.               Trading Limited                                       (IOM) Limited                                                                         B.V.                      Proprietary Limited               Switzerland Sarl
     [US]                                                [IOM]                     [IOM]                 [Singapore]                     [UK]                                                                                                            [UAE]
                              [UK]                                                                                                                                 [Netherlands]                  [South Africa]                  [Switzerland]

                                                                                                                 99.99 % &
                                                                                                                 0.01% GC MC (UK) Ltd
   Finacity
                                                                                                                                                                                                  100 %             Greensill Brasil
                                                                                                    Greensill India Private                                                                                        Consultoria Ltda
 Corporation                                                                                                                                                                                                           [Brazil]
[Delaware, US]                                                                                       Finance Limited
                                                                                                           [India]
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                                    Exhibit 2

               List of Committees Formed Prior to the Petition Date
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                                      Exhibit 2

                List of Committees Formed Prior to the Petition Date

            Pursuant to Local Bankruptcy Rule 1007-2(a)(3), to the best of the Debtor’s
knowledge and belief, no committee has been organized prior to the Petition Date.
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                                  Exhibit 3

                List of Holders of 20 Largest Unsecured Claims
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       Fill in this information to identify the case:

       Debtor name    Greensill Capital Inc.

       United States Bankruptcy Court for the:   Southern                District of   New York
                                                                                       (State)                                                  Check if this is an
       Case number (If known):                                                                                                                      amended filing



    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.*


     Name of creditor and complete                Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code          email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                  contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)

                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
1     Brian Haezebroeck                           haezebroeck@msn.com              Employee                 N/A               N/A                N/A              $43,260.00
                                                                                   Obligations



2     Pieter Frederik Boom                        pfboom01@gmail.com               Employee                 N/A               N/A                N/A              $39,615.38
                                                                                   Obligations



3     Randolph Habeck                             dolph.habeck@mac.com             Employee                 N/A               N/A                N/A               $37,692.31
                                                                                   Obligations



4     Shinichi Cowe                               srcowe@gmail.com                 Employee                 N/A               N/A                N/A              $33,051.12
                                                                                   Obligations



5     Donatus Anusionwu                           danusionwu@gmail.com             Employee                 N/A               N/A                 N/A              $32,307.69
                                                                                   Obligations



6     Lucia Martinez                              luciamartinezcfa@gmail.com       Employee                 N/A               N/A                N/A              $31,634.62
                                                                                   Obligations



7     Michael Pilat                               mike@mikepilat.com               Employee                 N/A               N/A                 N/A              $29,615.38
                                                                                   Obligations



8     Ryan Waterman                               rwaterman@centurylink.net        Employee                 N/A               N/A                N/A               $27,730.77
                                                                                   Obligations




      *The Debtor has requested authority from the Bankruptcy Court to pay certain of the amounts reflected herein.


    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
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    Debtor         Greensill Capital Inc.                                                   Case number (if known)
                   Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)

                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

9     John Smith                            johnswood77@gmail.com         Employee                  N/A               N/A                N/A              $27,103.85
                                                                          Obligations



10 Sarood Baig                              stbaig@gmail.com              Employee                  N/A               N/A                N/A              $27,103.85
                                                                          Obligations



11 Thomas Owen                              towen@iowatelecom.net         Employee                  N/A               N/A                 N/A              $26,740.38
                                                                          Obligations



12 Jacob Streit                             jakes918@gmail.com            Employee                  N/A               N/A                N/A              $25,961.54
                                                                          Obligations



13 Jamey Ross                               rossjamey@gmail.com           Employee                  N/A               N/A                 N/A              $25,750.00
                                                                          Obligations



14 Scott Cline                              scbball33@gmail.com           Employee                  N/A               N/A                N/A              $25,750.00
                                                                          Obligations



15 Marisa Lazatin                           marisabgorman@gmail.com       Employee                  N/A               N/A                 N/A              $24,759.62
                                                                          Obligations



16 Indirah Toovey                           indi2v50@gmail.com            Employee                  N/A               N/A                 N/A              $24,230.77
                                                                          Obligations



17 Matthew Wright                           matthewwright@gmail.com       Employee                  N/A               N/A                N/A               $24,230.77
                                                                          Obligations



18 Dinesh Kumar                             hdinkumar@yahoo.com           Employee                  N/A               N/A                 N/A              $24,230.77
                                                                          Obligations



19 Thomas Coenen                            tcoenen@gmail.com             Employee                  N/A               N/A                N/A               $24,066.35
                                                                          Obligations



20 John Zimmerman                           j.zimmerman@yahoo.com         Employee                  N/A               N/A                N/A               $23,692.31
                                                                          Obligations




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                                    Exhibit 4

               Holders of the Debtor’s Five Largest Secured Claims
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                                      Exhibit 4

                Holders of the Debtor’s Five Largest Secured Claims

              Pursuant to Local Bankruptcy Rule 1007-2(a)(5), the Debtor does not have
any creditors holding secured claims against it as of the Petition Date.
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                                  Exhibit 5

                Summary of the Debtor’s Assets and Liabilities
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                                         Exhibit 5

                    Summary of the Debtor’s Assets and Liabilities

               Pursuant to Local Bankruptcy Rule 1007-2(a)(6), the following are
estimates of the Debtor’s total assets and liabilities. The following financial data is the
latest available information and reflects the Debtor’s financial condition.

               The information contained herein shall not constitute an admission of
liability by, nor is it binding on, the Debtor. The Debtor reserves all rights to assert that
any debt or claim included herein is a disputed claim or debt, and to challenge the
priority, nature, amount, or status of any such claim or debt.

                On a book value basis, as of February 28, 2021, the total value of the
Debtor’s assets is approximately $35,219,846.74 and the total amount of the Debtor’s
liabilities is approximately $24,385,273.83.
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                                   Exhibit 6

               Summary of Publicly Held Securities of the Debtor
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                                       Exhibit 6

                 Summary of Publicly Held Securities of the Debtor

             Pursuant to Local Bankruptcy Rule 1007-2(a)(7), to the best of the Debtor’s
knowledge and belief, there are no shares of stock, debentures or other securities of the
Debtor that are publicly held, nor held by any of the Debtor’s officers and directors.
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                                   Exhibit 7

               Summary of Debtor’s Property Held by Third Parties
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                                        Exhibit 7

                 Summary of Debtor’s Property Held by Third Parties

              Pursuant to Local Bankruptcy Rule 1007-2(a)(8), to the best of the Debtor’s
knowledge and belief, none of the Debtor’s property is in the possession or custody of
any custodian, public officer, mortgagee, pledgee, assignee of rents, secured creditor, or
agent for any such entity.
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                                  Exhibit 8

  Summary of Debtor’s Premises from Which the Debtor Operates Its Business
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                                      Exhibit 8

    Summary of Debtor’s Premises From Which the Debtor Operates Its Business

               Pursuant to Local Bankruptcy Rule 1007-2(a)(9), the sole premise owned,
leased, or held under other arrangement from which the Debtor operates its business as
of the Petition Date is 2 Gansevoort Street, New York, NY 10014.
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                                  Exhibit 9

         Location of Debtor’s Substantial Assets, Books and Records,
     and Nature and Location of Debtor’s Assets Outside the United States
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                                         Exhibit 9

            Location of Debtor’s Substantial Assets, Books and Records,
        and Nature and Location of Debtor’s Assets Outside the United States

               Pursuant to Local Bankruptcy Rule 1007-2(a)(10), the following lists the
location of the Debtor’s substantial assets, the location of its books and records, and if
any, the nature, location, and value of any assets held by the Debtor outside the
territorial limits of the United States.

              Debtor’s Assets                                    Location

 Debtor’s Substantial Assets                   The Debtor’s substantial assets are
                                               located at:
                                               2 Gansevoort Street
                                               New York, NY 10014


                               Debtor’s Books and Records

One Southampton Street
Covent Garden
London, WC2R 0LR
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                                  Exhibit 10

                        Schedule of Pending Litigation
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                                      Exhibit 10

                           Schedule of Pending Litigation

                Pursuant to Local Bankruptcy Rule 1007-2(a)(11), to the best of the
  Debtor’s knowledge and belief, there are no actions or proceedings, pending or
  threatened, against the Debtor or its property where a judgment against the
  Debtor or a seizure of its property may be imminent.
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                                  Exhibit 11

                       Senior Management of the Debtor
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                                        Exhibit 11

                           Senior Management of the Debtor

             Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following lists the
names of the individuals who comprise the Debtor’s existing senior management, their
tenure with the Debtor, and a brief summary of their relevant responsibilities and
experience.

Alexander (“Lex”) D. Greensill, President

Alexander (“Lex”) D. Greensill currently serves as the President of the Debtor, a role he
has held since 2013. Mr. Greensill is also the founder and Chief Executive Officer of
Greensill Capital Pty Limited, the Debtor’s indirect parent (together with certain of its
affiliates and subsidiaries, “Greensill”). Prior to his tenure with Greensill, Mr. Greensill
served as a Managing Director at Citibank from August 2009 to August 2011 and an
Executive Director at Morgan Stanley from June 2005 to August 2009.

Hugh McKee, Corporate Secretary & Regional General Counsel

Hugh McKee currently serves as a Corporate Secretary and Regional General Counsel
for the Debtor, roles he has held since January of 2019. Prior to this, Mr. McKee served
as the Debtor’s Assistant General Counsel from October of 2017 to January of 2019.
Before joining the Debtor, Mr. McKee held various legal positions beginning in 2008.
Mr. McKee’s term of service with the Debtor will terminate effective April 1, 2021.

Hayley James, Corporate Secretary

Hayley James currently serves as a Corporate Secretary for the Debtor, a role she has
held since February of 2020. Prior to this, Ms. James served as a Corporate Secretary for
Ecclesiastical Insurance Group from September of 2017 through February of 2020.
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                                  Exhibit 12

        Debtor’s Payroll for 30-Day Period Following the Petition Date
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                                      Exhibit 12

                                        Payroll

                Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-(2)(A) and (C), the
following provides the estimated amount of weekly payroll to the Debtor’s employees
(not including officers, directors and stockholders) and the estimated amount to be paid
to officers, directors, stockholders, and financial and business consultants retained by
the Debtor’s for the 30-day period following the Petition Date.

                                 Greensill Capital Inc.

 Payments to Employees                                                         $82,500

 Payments to Officers, Directors, and Stockholders                                   $0

 Payments to Financial and Business Consultants                                      $0
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                                  Exhibit 13

           Debtor’s Estimated Cash Receipts and Disbursements,
         Net Cash Gain or Loss, Unpaid Obligations, and Receivables
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                                      Exhibit 13

              Debtor’s Estimated Cash Receipts and Disbursements,
            Net Cash Gain or Loss, Unpaid Obligations, and Receivables

              Pursuant to Local Bankruptcy Rule 1007-2(b)(3), the following provides,
for the 30-day period following the commencement of this chapter 11 case, the Debtor’s
estimated cash receipts and disbursements, net cash gain or loss, and obligations and
receivables expected to accrue that remain unpaid, other than professional fees.


                                Greensill Capital Inc.

 Cash Receipts                                                                     $0

 Cash Disbursements                                                        $1,600,000

 Net Cash Gain (Loss)                                                     $(1,600,000)

 Unpaid Obligations                                                                $0

 Unpaid Receivables                                                                $0
